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12 Narendra Jimi Patel
13
14                         UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
16                              WESTERN DIVISION

17
18 Narendra Jimi Patel,                    Case No.:
19                     Plaintiff,          COMPLAINT FOR DAMAGES
20
          vs.                              FOR VIOLATIONS OF:
21
                                            1. THE FAIR DEBT COLLECTION
22 Mercantile Adjustment Bureau, LLC,       PRACTICES ACT; AND
                                            2. THE ROSENTHAL FAIR DEBT
23
                       Defendant.           COLLECTION PRACTICES ACT
24
25                                         JURY TRIAL DEMANDED

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 1         Plaintiff, Narendra Jimi Patel (hereafter “Plaintiff”), by undersigned counsel,
 2
     brings the following complaint against Mercantile Adjustment Bureau, LLC (hereafter
 3
 4 “Defendant”) and alleges as follows:
 5                                      JURISDICTION
 6
           1.     This action arises out of Defendant’s repeated violations of the Fair Debt
 7
 8 Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and repeated
 9 violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788,
10
   et seq. (“Rosenthal Act”).
11
12         2.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), Cal. Civ.
13 Code 1788.30(f), 28 U.S.C. § 1331 and 28 U.S.C. § 1367.
14
        3.    Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
15
16 the acts and transactions giving rise to Plaintiff’s action occurred in this district and/or
17
     where Defendant transacts business in this district.
18
19                                          PARTIES

20         4.     Plaintiff is an adult individual residing in Granada Hills, California, and
21
     is a “person” as defined by 47 U.S.C. § 153(39) and Cal Civ. Code § 1788.2(g).
22
23         5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3), and is a

24 “debtor” as defined by Cal. Civ. Code § 1788.2(h).
25
           6.     Defendant is a business entity located in Williamsville, New York, and is
26
27 a “person” as the term is defined by 47 U.S.C. § 153(39) and Cal Civ. Code §
28 1788.2(g).


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                                                              COMPLAINT FOR DAMAGES
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 1         7.     Defendant uses instrumentalities of interstate commerce or the mails in a
 2
     business the principle purpose of which is the collection of debts and/or regularly
 3
 4 collects or attempts to collect debts owed or asserted to be owed to another, and is a
 5 “debt collector” as defined by 15 U.S.C.§ 1692a(6).
 6
         8.     Defendant, in the ordinary course of business, regularly, on behalf of
 7
 8 itself or others, engages in the collection of consumer debts, and is a “debt collector”
 9
     as defined by Cal. Civ. Code § 1788.2(c).
10
11                  ALLEGATIONS APPLICABLE TO ALL COUNTS
12
           1.     Upon information and belief, a financial obligation was allegedly
13
14 incurred by Plaintiff’s son, a person who is not a party to this lawsuit (hereafter
15
     “Debtor”).
16
17         2.     Plaintiff is not the Debtor and has no responsibility for repayment of

18 Debtor’s debt.
19
           3.     Debtor’s alleged obligation arises from a transaction in which property,
20
21 services or money was acquired on credit primarily for personal, family or household
22 purposes, is a “debt” as defined by 15 U.S.C. § 1692a(5), and is a “consumer debt” as
23
   defined by Cal. Civ. Code § 1788.2(f).
24
25         4.     At all times mentioned herein where Defendant communicated with any
26
     person via telephone, such communication was done via Defendant’s agent,
27
     representative or employee.
28


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 1         5.     Within the past year, Defendant repeatedly called Plaintiff on his home
 2
     telephone (818-XXX-7863) in an attempt to reach the Debtor.
 3
 4         6.     In February of 2015, Plaintiff informed Defendant that it was calling the
 5 wrong number and requested that Defendant cease calling.
 6
        7.   Nevertheless, Defendant, knowing that it was calling the wrong number
 7
 8 and for no legitimate purpose other than to harass Plaintiff, continued to call Plaintiff
 9
     at an excessive rate.
10
11         8.     Defendant’s actions caused Plaintiff to suffer a significant amount of

12 stress, anxiety, and frustration.
13
14                                         COUNT I
15
       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT, 15
16                         U.S.C. § 1692, et seq.
17
           9.     Plaintiff incorporates by reference all of the above paragraphs of this
18
     complaint as though fully stated herein.
19
20         10.    The FDCPA was passed in order to protect consumers from the use of
21
     abusive, deceptive and unfair debt collection practices and in order to eliminate such
22
23 practices.
24         11.    Defendant attempted to collect a debt from Plaintiff and engaged in
25
     “communications” as defined by 15 U.S.C. § 1692a(2).
26
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28


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                                                             COMPLAINT FOR DAMAGES
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 1         12.     Defendant communicated with the Plaintiff regarding a third-party debt
 2
     more than once without being requested to do so, in violation of 15 U.S.C. §
 3
 4 1692b(3).
 5         13.     Defendant engaged in conduct, the natural consequence of which was to
 6
     harass, oppress, or abuse Plaintiff, in connection with the collection of a debt, in
 7
 8 violation of 15 U.S.C. § 1692d.
 9
           14.     Defendant caused Plaintiff’s phone to ring or engaged Plaintiff in
10
11 telephone conversations repeatedly or continuously, with the intent to annoy, abuse
12 and harass Plaintiff, in violation of 15 U.S.C. § 1692d(5).
13
           15.     Defendant used unfair and unconscionable means to collect a debt, in
14
15 violation of 15 U.S.C. § 1692f.
16         16.     The foregoing acts and/or omissions of Defendant constitute multiple
17
     violations of the FDCPA, including every one of the above-cited provisions.
18
19         17.     Plaintiff was harmed and is entitled to damages as a result of Defendant’s
20
     violations.
21
22                                          COUNT II
23
           VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION
24                PRACTICES ACT, Cal. Civ. Code § 1788, et seq.
25
           18.     Plaintiff incorporates by reference all of the above paragraphs of this
26
27 complaint as though fully stated herein.
28


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                                                              COMPLAINT FOR DAMAGES
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 1         19.     The Rosenthal Act was passed to prohibit debt collectors from engaging
 2
     in unfair and deceptive acts and practices in the collection of consumer debts.
 3
 4         20.     Defendant caused Plaintiff’s telephone to ring repeatedly or continuously
 5 to annoy Plaintiff, in violation of Cal. Civ. Code § 1788.11(d).
 6
         21. Defendant communicated with Plaintiff with such frequency as to be
 7
 8 unreasonable, constituting harassment, in violation of Cal. Civ. Code § 1788.11(e).
 9
           22.     Defendant did not comply with the provisions of 15 U.S.C. § 1692, et
10
11 seq., in violation of Cal. Civ. Code § 1788.17.
12         23.     Plaintiff was harmed and is entitled to damages as a result of Defendant’s
13
     violations.
14
15
                                     PRAYER FOR RELIEF
16
           WHEREFORE, Plaintiff prays for judgment against Defendant for:
17
18                 A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
19                 B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);
20
                   C. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);
21
22                 D. Statutory damages of $1,000.00 for knowingly and willfully committing
23
                      violations pursuant to Cal. Civ. Code § 1788.30(b);
24
25                 E. Costs of litigation and reasonable attorneys’ fees pursuant to 15 U.S.C.

26                    § 1692k(a)(3) and Cal. Civ. Code § 1788.30(c);
27
                   F. Punitive damages; and
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                                                              COMPLAINT FOR DAMAGES
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 1             G. Such other and further relief as may be just and proper.
 2
 3                TRIAL BY JURY DEMANDED ON ALL COUNTS
 4
 5
 6 DATED: January 31, 2017                    TRINETTE G. KENT
 7                                           By: /s/ Trinette G. Kent
 8                                           Trinette G. Kent, Esq.
                                             Lemberg Law, LLC
 9
                                             Attorney for Plaintiff, Narendra Jimi Patel
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                                                          COMPLAINT FOR DAMAGES
